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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 THERESA WEIRBACH and CHARLES
 ZIMMER on behalf of themselves and all
 others similarly situated,

                Plaintiff
                                                   Case No. 5:19-cv-05310-JDW
        v.

 THE CELLULAR CONNECTION, LLC,

                Defendant

                                           ORDER

       AND NOW, this 10th day of November, 2020, upon consideration of Plaintiffs’

Unopposed Motion for Approval of Collective Action Settlement (ECF No. 59), and for the

reasons stated in the accompanying Memorandum, it is ORDERED that, pursuant to 29 U.S.C.

§ 216(b), the Motion is GRANTED.

       It is FURTHER ORDERED that the Court certifies a collective consisting of all current

and former hourly employees of The Cellular Connection, LLC (“TCC”) who worked as Sales

Representatives and/or Technical Advisors for TCC in the United States for at least one week any

time from August 21, 2017, through August 20, 2020.

       It is FURTHER ORDERED that the proposed settlement is APPROVED.

       It is FURTHER ORDERED that Plaintiffs’ claims against Defendant are DISMISSED

WITH PREJUDICE.

       It is FURTHER ORDERED that the Court will retain jurisdiction over this matter for

purposes of enforcing the settlement.

                                                   BY THE COURT:

                                                   /s/ Joshua D. Wolson
                                                   JOSHUA D. WOLSON, J.
